                    UNITED STATES BANKRUPTCY COURT
             EASTERN DISTRICT OF MICHIGAN – SOUTHERN DIVISION

In re:
Eastlake Investments, LLC                                          Case No. 19-42309
          Debtor.                                                  Chapter 7
                                                                   Hon. Thomas J. Tucker
                                                                     /

 RESPONDENTS’ AMENDED OBJECTION TO FIRST INTERIM APPLICATION OF
 ATTORNEY FOR TRUSTEE FOR SERVICES RENDERED BETWEEN MAY 8, 2019
                  THROUGH SEPTEMBER 30, 2019

       NOW COME Johni Semma, Dean J. Groulx, Wendi A. Grimaldi-Groulx, Law Office of

Dean J. Groulx, PC, and Long Lake Realty Group, LLC, (“Respondents”) and for their Amended

Objection to First Interim Application of Attorney for Trustee for Services rendered Between

May 8, 2019 through September 30, 2019, says:

                                         Introduction

       Respondents’ initial Objection was filed on October 21, 2019. Respondents’ counsel was

contacted by Charles Bullock on behalf of the attorney for Trustee. Mr. Bullock pointed out that

there were certain misstatements with regard to communications alleged to have taken place

between the Debtors’ representatives and Mr. Bullock’s firm. The purpose of this Amended

Objection is to clarify the specific communications made by the Debtors’ Representatives to

counsel for the Trustee. All communications were telephonic, as is reflected in the attached

Brief. The statement in the initial Objection indicated there was a “meeting” between Debtors’

representatives and counsel for the Trustee was made in error. That statement is deemed

withdrawn.

       A.      Respondents admit the factual allegations contained in this paragraph.




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       B.      Respondents admit that work has been done, but deny that the work interim

allowance of fees is appropriate or necessary at this time for the reasons set forth in the

accompanying Brief in Support of this Objection.

       C.      Respondents neither admit nor deny, as no response is required.

       D.      Respondents respond as follows:

               1.      Respondents admit the amount being requested.

               2.      Respondents admit the amount being requested.

               3.      Respondents neither admit nor deny the allegations in this paragraph.

               4.      Respondents object to legal fees beginning on May 8, 2019, given

                       paragraph A indicates that Applicant began acting as legal counsel on May

                       16, 2019.

               5.      Respondents respond to the legal services provided as follows:

                       A.      341 Meeting: Respondent objects to the review of documents in

                               preparation for the 341 meeting, as those activities are more

                               properly charged to the Trustee, as described in more detail below.

                       B.      Employment and Fee Applications: Respondent admits that

                               various 2004 Examination Motions were prepared and filed.

                       C.      Motions: Respondent admits that Trustee’s counsel filed the

                               pleadings indicated in this section.

                       D.      Sale, Realization and Liquidation of Estate Property: Respondent

                               objects to any compensation related to the sale of the property, as

                               the sale took place prior to the conversion of the matter and well in

                               advance of Trustee’s counsel’s employment. It is unclear why




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                            Trustee’s counsel prepared an Order regarding Distribution to

                            Citizen’s Bank, N.A., based upon an Objection to same filed by

                            Respondent. Respondent admits that an adversary proceeding and

                            certain concurrences were filed; however, Respondent denies that

                            any such activities benefited the Estate in any manner.

                    E.      Benefits to the Estate: Respondent denies that any benefits to the

                            estate were garnered by Trustee’s counsel. The funds referred to

                            by Trustee’s counsel were merely transferred from the prior

                            Debtor’s counsel to the Trustee. The sale of property took place

                            long before Trustee’s counsel’s involvement in this matter.

           6.       Respondents neither admit nor deny, as no response is required.

           7.       Respondents deny that any further investigation would provide any benefit

    to the Estate, but rather would only benefit the Trustee and Trustee’s counsel by way of

    legal fees incurred.

           8.       Respondents neither admit nor deny, as no response is required.

           9.       Respondents deny there are no other administrative expenses, as the U.S.

                    Trustee has filed a Proof of Claim in the amount of $54,270.00 and the

                    Debtor has incurred legal fees for its prior counsel and will incur legal fees

                    for its existing counsel.

           10.      Respondents neither admit nor deny, as no response is required.

           11.      Respondents neither admit nor deny, as no response is required.

           12.      Respondents neither admit nor deny, as no response is required.

           13.      Respondents neither admit nor deny, as no response is required.




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       F.(sic) Respondents neither admit nor deny, as no response is required.

                             BRIEF IN SUPPORT OF RESPONSE

       Trustee’s counsel seeks compensation for services rendered as counsel for the Chapter 7

Trustee in this matter. In addition to problems with the Application and time entries attached

thereto, Respondents object to payment to Trustee’s counsel in its entirety for the failure to fully

and accurately disclose counsel’s role as Receiver in a circuit court matter that become directly

entangled with this bankruptcy proceeding.

Affidavit of Disinterestedness

       Counsel submitted an Affidavit of Disinterestedness attached to its Ex-Parte Application

for employment on May 16, 2019 (Docket No. 100), a copy of which is attached as Exhibit A.

       In counsel’s Affidavit, counsel indicated, under oath, that any interest between the firm

and this Debtor was remote and outstanding fees were waived (Affidavit, p. 2, ¶ d). There were

no disclosures regarding phone communications made by the Debtor and Debtor’s

representatives to counsel for the Trustee prior to the filing of the Chapter 11 proceeding.

Although there was disclosure that Trustee’s counsel had acted as a Receiver on behalf of

Citizens Bank, N.A., there was no disclosures that Applicant was paid $7,600 as fees for their

efforts as Receiver. In addition, there was no disclosure of the entry of a Charging Order in the

state court proceeding directed to the Debtor to pay over to Citizens Bank, N.A., any funds that

were due Jimmy Danou (the Defendant in that action) (Exhibit B).

Communications of Debtor and Debtor’s Representatives to Applicant

       This bankruptcy was filed on February 19, 2019 as a Chapter 11 proceeding. Attached

hereto and incorporated herein by reference as Exhibit C, is the Affidavit of Dean J. Groulx. On

February 15, 2019, Dean J. Groulx called and left a detailed voicemail for Charles Bullock




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regarding this Debtor and filing bankruptcy (see Affidavit, Exhibit C, ¶ 10). Elliot Crowder

returned this phone call on February 18, 2019, and discussed the matter with Mr. Groulx (the

following Monday), but ultimately was not retained to represent the Debtor in this matter (see,

Affidavit, Exhibit C, ¶ 11). In addition, the before this Chapter 11 was filed, Johni Semma

spoke via telephone with Elliot Crowder to discuss filing a Chapter 11 proceeding on behalf of

this Debtor, Eastlake Investments, LLC because of the impending expiration of the redemption

period after a mortgage foreclosure. The representation was not consummated; however, they

provided relevant and important information unknowingly to the Receiver over Jimmy Danou’s

entities.

        Michigan Rules of Professional Conduct Rule 1.18 provides for duties to prospective

clients. It specifically holds that “Even when no client-lawyer relationship ensues, a lawyer who

has learned information from a prospective client shall not use or reveal that information.” Rule

1.18(b). Further, a lawyer is prohibited from representing a client that have interests that are

materially averse to those of the prospective client or that could be harmful to the prospective

client. See, Rule 1.18(c). Finally, this prohibition on representation follows to any members of

the same law firm who may have the same knowledge. See, Rule 1.18(c). The only means to

avoid the disqualification under this Rule are with the informed consent of both the potential

client and the affected client. See, Rule 1.18(d).

        Here, Elliot Crowder spoke with Dean Groulx and Johni Semma regarding representation

of the Debtor prior to the bankruptcy filing. The same attorneys then applied for and were

approved to represent the Trustee, Fred J. Dery. The Trustee is charged with gathering the assets

of a Debtor for the benefit of the unsecured creditors, a position generally adverse to the Debtor.




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Mr. Bullock’s Role as Receiver for Citizens Bank, N.A. and such Bank’s Claims against the
Bankruptcy Estate.

       In addition to the obvious and real conflict based upon the prospective client meetings or

discussions, Applicant also has a conflict of interest based upon its role as Receiver in a state

court action against Jimmy Danou.

       Citizens Bank, N.A., holds a Judgment against Jimmy Danou and two of his wholly

owned entities in the amount of $182,950.94 that was entered on November 16, 2016 (Exhibit

D). The Judgment did not provide for payment of Plaintiff’s attorney fees. As of the date of this

filing, the total amount due on the Judgment, assuming no payments have been made, inclusive

of judgment interest is $200,343.67.

       Charles Bullock was appointed Receiver over MindMingle, LLC (one of Jimmy Danou’s

Defendant entities) on August 22, 2018 in the state court action, for the sole purpose of

collecting on the Judgment entered by the state court (Exhibit E). Citizens Bank and Charles

Bullock have been attempting to collect on the Judgment since 2018. In discharging his duties,

Mr. Bullock had dealings with Johni Semma, who was on site at a location owned by Mr. Danou.

       On March 15, 2019, Citizens Bank, N.A., as Plaintiff in the state court action, sought and

received a Charging Order against the interests and distributions of Eastlake Investments, LLC, a

Michigan limited liability company (Exhibit B). This was after the telephone calls that would

have disclosed Mr. Danou’s then-interest in Debtor.

       On March 25, 2019, after having the Charging Order entered against the Debtor,

apparently by stipulation alone and without any Application for Fees, a Stipulated Order

Approving Receiver’s Compensation from September 5, 2018 through February 28, 2019 in the

total amount of $30,124.41, was entered in the state court action (Exhibit D). The Order

specifically provides that the fees will be paid by Plaintiff and added to the indebtedness owed



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by Defendants (including Jimmy Danou). This would increase the amount due and owing to

slightly more than $230,400. Under the terms of this Order, Citizens Bank either paid

Applicant, or was obligated to pay Applicant over $30,000 after the Chapter 11 bankruptcy

was filed, but before the case was converted. While Applicant indicated in its Affidavit that it

waived any outstanding fees as a result of the Receivership, Applicant failed to include the fact

that it was paid $7,600.00 from funds gathered into the Receivership Estate from Jimmy Danou.

         On April 3, 2019, while the Receivership was still pending, an Order regarding

Distribution of Sale Proceeds was entered in this case at Docket 59 (the “Distribution Order”),

which provided for payment to Citizens Bank (based upon its claim against Danou in the

underlying state court case) in the amount of $250,000, which is considerably higher than the

Judgment entered in Citizens Bank, LLC’s favor in that action. The Judgment with interest is

only slightly more than $200,000. There is no claim against the Debtor, only against Jimmy

Danou.

         Interestingly, the Distribution Order purports to pay Citizens Bank out of the Estate for a

claim against a non-Debtor. The Debtor had absolutely no liability to Citizens Bank. However,

the Trustee has never objected to the entry of the Distribution Order. In fact, the Trustee moved

to approve the Allowed Claim for Citizens Bank after it was challenged by Mr. Semma (and later

withdrawn under Mr. Semma’s direction). Further, Citizens Bank, N.A., filed a Proof of Claim

(Exhibit E), to which the Trustee has never objected, despite Citizens Bank, N.A., having no

claim against the Debtor’s Estate.

         It was not until June 7, 2019, that a Stipulated Order Terminating Receivership,

Discharging, and Approving Actions of Receiver was entered (Exhibit F). In other words,

Charles Bullock was an active Receiver on behalf of Citizens Bank, N.A., at the same time this




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bankruptcy was pending and an Order was entered providing payment to Citizens Bank, N.A.,

for a claim that was not against the Debtor. The Trustee never objected to the Distribution Order

or the Proof of Claim filed by Citizens Bank, N.A. After his termination as Receiver, the Trustee

moved to authorize a settlement with Citizens Bank, N.A. against the Estate for a claim against a

non-Debtor. The termination of the Receiver in the state court action occurred without a final

accounting.

        The Trustee’s counsel stated in its Affidavit of Disinterestedness that “any interest

between [Applicant], myself, and this Debtor was remote and indirect (Exhibit A, p. 3, ¶ d).

Any outstanding fees owed resulting from the receivership have been waived.” Trustee’s

counsel failed to disclose the prior fees it had received as Receiver for Citizens Bank, N.A., in

the amount of $7,600.00. Obtaining the initial Distribution Order, although actually effectuated

by Citizens Bank’s counsel, was certainly a direct and substantial interest between Applicant and

this Debtor. Further, Applicant concurred in the resolution of a challenge to that Distribution

Order and filed a Motion to Approve the settlement (Docket No. 218), which resulted in Citizens

Bank having an Allowed Claim in the amount of $250,000 (Docket No. 268).1 Further,

Applicant’s involvement as Receiver directly involved both purported members of the Debtor in

a claim against one of the purported members. This is a direct connection.

        There is an actual conflict of interest present where counsel for the Trustee over Eastlake

Investments, LLC, is also acting as a Receiver on behalf of Citizens Bank, N.A., who filed a

Proof of Claim for $250,000.00 and an Order providing for the Debtor’s Estate to make payment

to Citizens Bank, N.A., in such amount, despite having no claim against the Debtor’s Estate

whatsoever.


1
 Respondents acknowledge that, at the direction of Respondent Johni Semma, Respondents withdrew their
Objection to the Distribution Order and agreed to the Allowed Claim.


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        The Michigan Rules of Professional Conduct Rule 1.7 prohibit the representation of a

client if the representation would adversely impact another client. Here, the work done as

Receiver has directly impacted the Estate in this matter in the amount of $250,000.00, an amount

that the Debtor, itself, should not be responsible to pay.

        In re Woodward East Project, Inc., 195 B.R. 372 (E.D. Mich. 1996), although dealing

with an attorney for a debtor, the court acknowledges the authority held by a court to deny

compensation in its entirety where there is a conflict of interest arising from the circumstances

that is clear. Id. at 377-378.

        Under 11 U.S.C. § 328(c), the Court may deny the allowance of any compensation for

services or reimbursement of expenses of a professional person employed under § 327 if, at any

time during employment, the person is not disinterested.

        The term “disinterested person” is defined in 11 U.S.C. § 101(14):

            (A) Is not a creditor, an equity security holder, or an insider;
            (B) Is not and was not, within 2 years before the date of filing of the
                petition, a director, officer, or employee of the debtor; and
            (C) Does not have an interest materially adverse to the interest of the estate
                or of any class of creditors or equity security holders, by reason of any
                direct or indirect relationship to, connection with, or interest in, the
                debtor, or for any other reason.

        This definition has been construed broadly. The statute is “sufficient broad to include

any professional with an ‘interest or relationship that would even faintly color the independence

and impartial attitude required by the Code.” In re Greystone Holdings, L.L.C., 305 B.R. 456

(N.D. Ohio, 2003), citing, Kravit, Gass & Weber, S.C. v. Michel (In re Crivello), 134 F.3d 831,

836 (7th Cir. 1998).




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Time Entries in Application

       In addition to the absolute conflict of interest in its representation of the Trustee in this

matter, the time entries attached to the Application have, at quick glance, several glaring

deficiencies.

       First, the Application in its body at paragraph A, purports that Applicant began legal

work on May 16, 2019. However, the title to the Application and the proposed Order, as well as

the time entries, all begin on May 8, 2019, which was before even the Trustee was appointed to

the case (Trustee Dery was not appointed until May 9, 2019).

       A quick review of the time entries found at least two places where obvious duplicate

entries for the same individual on the same date are billed for a total of nearly three (3) hours of

extra time. August 7, 2019 contains two identical entries for Elliot Crowder for a total of 0.3

hours. September 23, 2019, contains duplicate entries for Leslie D. Haas for 2.4 hours. Again,

Respondents performed only a cursory review of the time entries.

       A similar quick review of the time entries found over twenty-five hours devoted to

simply “formulating strategy” with absolutely no indication as to what that may mean. It would

appear that would include conferences with other counsel, parties, or non-parties, information

that should be disclosed. The entries should not include research or conferences, as those items

are so delineated in the time records.

       Finally, the only benefit listed to the Estate is gathering of over $1.6 million. However,

those funds were property of the Estate long before counsel was appointed. In fact, counsel has

expended in legal fees far more than it has brought into the Estate.

       There are multiple entries for telephone calls and emails that appear to be more

appropriate for the Trustee to have completed or are ministerial in nature.




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       As explained in In re Taylor, 66 B.R. 390 (W.D. Pa. 1986), an attorney acting as an

attorney for a Trustee in a bankruptcy proceeding may only be compensated for those services

that are required in a legal capacity, and not for performing the duties of a Trustee. Id. at 392-

393. The court in In re Taylor goes on to explain that telephone calls and correspondence with

parties would appear to be more appropriate duties for a Trustee without some explanation as to

the legal nature of those duties.

       WHEREFORE, Respondents respectfully request this honorable Court deny the First

Interim Application of Attorney for Trustee for Services rendered Between May 8, 2019 through

September 30, 2019.

                                      Respectfully Submitted,

                                                      By: /s/Jerome D. Frank
                                                      Jerome D. Frank (P13634)
                                                      Matthew W. Frank (P66028)
                                                      Frank & Frank, PLLC
                                                      30833 Northwestern Highway, Suite 205
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                                                      jfrank@frankfirm.com
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October 24, 2019




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                            Exhibit A




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                     UNITED STATES BANKRUPTCY COURT
                      EASTERN DISTRICT OF MICHIGAN
                            SOUTHERN DIVISION

IN THE MATTER OF:
Eastlake Investments, LLC,                      Bankruptcy Case No. 19-42309
                                                Honorable Thomas J. Tucker
         Debtor.                                Chapter 7
                                          /

                      AFFIDAVIT OF DISINTERESTEDNESS

   STATE OF MICHIGAN               )
                                   )SS.
   COUNTY OF OAKLAND               )

         Charles D. Bullock, being first duly sworn, deposes and says that he is an

   attorney at law with the firm of Stevenson & Bullock, P.L.C. (“S&B”), that he is

   authorized to make this Affidavit, that he is a disinterested person as defined by 11

   U.S.C § 101(14), that neither he nor any member of S&B holds or represents an

   interest adverse to the estate, and that the employment of S&B is in compliance

   with 11 U.S.C. § 327(a).

         The Chapter 7 Trustee, Fred J. Dery, has asked that S&B perform the

   professional services as set forth in the Trustee’s Application for Employment on

   behalf of the bankruptcy estate. Neither I nor the firm with which I am associated:

                a)    Are a creditor, an equity security holder, or an insider of the

         Debtor;




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           b)     Are or have been, within the two (2) years before the date of the

     filing of the petition in this case, a director, officer, or employee of the Debtor;

     and

           c)     Have any interest materially adverse to the interest of the estate

     or of any class of creditors or equity security holders, by reason of any direct

     or indirect relationship to, connection with, or interest in, the Debtor or for

     any other reason.



     I further disclose the following:

           a)     Michael A. Stevenson, a partner at S&B, is a Chapter 7 Panel

     Trustee.

           b)     I taught a bankruptcy class at Thomas M. Cooley Law School with

     Leslie K. Berg of the Office of the United States Trustee.

           c)     S&B has represented employees of the Office of the United States

     Trustee in matters unrelated to this bankruptcy case and the Debtor.

           d)     On or about August 22, 2018, the Oakland County Circuit Court

     for the State of Michigan entered a Stipulated Order Appointing Receiver and

     Related Injunctive Relief (the “Receivership Order”), in the case of Citizens

     Bank, N.A. v. Mindmingle, LLC, Midtown Investment Group, Inc., and Jimmy

     Danou (Case No. 16-156009-CB), which appointed me as Receiver over the

     receivership property of Midtown Investment Group, Inc. It has been asserted


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     that Midtown Investment Group, Inc. is solely owned by Jimmy Danou, the

     Debtor’s member. I was not appointed receiver over the Debtor or any of its

     assets. Moreover, the Debtor was not a party in the state court proceeding in

     which the Receivership Order was entered. I was not appointed receiver over

     Jimmy Danou. On March 26, 2019, Midtown Investment Group, Inc. filed a

     voluntary petition under Chapter 11 of the Bankruptcy Code, which was signed

     by Jimmy Danou. Any interest between S&B, myself, and this Debtor was

     remote and indirect. Any outstanding fees owed resulting from the receivership

     have been waived.

            e)     No agreement or understanding exists between affiant or any other

     person for any division or sharing of compensation which is prohibited by

     statute.    I have been advised that the Debtor has many creditors and,

     accordingly, S&B may have rendered services or had business associations with

     its creditors or other respective attorneys and accountants in the ordinary course

     of their professional practice, but none of the services have been in connection

     with this proceeding.




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                                          STEVENSON & BULLOCK, P.L.C.

                                   By:    /s/ Charles D. Bullock (P55550)
                                          Attorney for Trustee
                                          26100 American Drive, Suite 500
                                          Southfield, MI 48034
                                          (248)354-7906
                                          cbullock@sbplclaw.com


     Subscribed and sworn to before me this 9th day of May, 2019.

     /s/ Marsha Stella-Lawrence
     Marsha Stella-Lawrence, Notary Public
     Oakland County, Michigan,
     Acting in Oakland County, Michigan
     My Commission Expires: August 28, 2024




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                            Exhibit B




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                            Exhibit C




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                            Exhibit D




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                            Exhibit E




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                             Exhibit F




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